Citation Nr: 19175046
Decision Date: 09/26/19	Archive Date: 09/26/19

DOCKET NO. 15-32 740
DATE: September 26, 2019

REMANDED

Entitlement to an initial rating in excess of 10 percent for a right knee disability is remanded.  

Entitlement to an initial rating in excess of 10 percent for a back disability is remanded.

Entitlement to an initial compensable rating for a traumatic brain injury (TBI) is remanded.

Entitlement to an initial compensable rating for a respiratory disability is remanded.

Entitlement to an initial compensable rating for a headache disability is remanded.

Entitlement to an initial compensable rating for a left forearm scar is remanded.

Entitlement to service connection for hypertension is remanded.  

Entitlement to service connection for a bilateral shoulder disorder is remanded.

Entitlement to service connection for a neck disorder is remanded.

Entitlement to service connection for a bilateral foot disorder is remanded.

Entitlement to service connection for a right hip disorder is remanded.

Entitlement to service connection for a chest disorder is remanded.

Entitlement to service connection for bilateral foot fungus is remanded.  

REASONS FOR REMAND

The Veteran had active service from October 2008 to August 2012.

In November 2018, the Veteran testified before the undersigned Veterans Law Judge at a Travel Board hearing at the Regional Office (RO).  A transcript of the hearing is of record.  

1. Entitlement to an initial rating in excess of 10 percent for a right knee disability is remanded.  

2. Entitlement to an initial rating in excess of 10 percent for a back disability is remanded.

3. Entitlement to an initial compensable rating for a TBI is remanded.

4. Entitlement to an initial compensable rating for a respiratory disability is remanded.

5. Entitlement to an initial compensable rating for a headache disability is remanded.

6. Entitlement to an initial compensable rating for a left forearm scar is remanded.

7. Entitlement to service connection for hypertension is remanded.  

8. Entitlement to service connection for a bilateral shoulder disorder is remanded.

9. Entitlement to service connection for a neck disorder is remanded.

10. Entitlement to service connection for a bilateral foot disorder is remanded.

11. Entitlement to service connection for a right hip disorder is remanded.

12. Entitlement to service connection for a chest disorder is remanded.

13. Entitlement to service connection for bilateral foot fungus is remanded.

As an initial matter, the Board notes that the RO has only obtained a single one-page post-service VA medical treatment record.  Further, this VA treatment record (dated May 2015) reflects that the Veteran was in the process of scheduling medical appointments that are relevant to the claims on appeal.  However, there is no indication that the RO has tried to obtain any medical records after the initial development of the claim.  Moreover, at his November 2018 Board hearing, the Veteran stated that he has received treatment at numerous VA medical centers during the course of the appeal.  Therefore, on remand, the RO should attempt to obtain (and associated with the claims file) all relevant and outstanding medical records.

The matters are REMANDED for the following action:

1. The RO should undertake the necessary action in order obtain the Veteran's complete medical treatment records from the VAMC in Tulsa, Oklahoma, and Omaha, Nebraska, as well as from any VA facility from which the Veteran has received treatment.  If these records are unable to be obtained, a formal finding of unavailability should be prepared and associated with the claims file.  

If the Veteran has received additional private treatment, he should be afforded an appropriate opportunity to submit the medical records of such treatment.  

2. The RO should undertake any other development deemed necessary in order to adjudicate the Veteran's claims on appeal, including obtaining any VA examinations or addendum opinions.  If the benefits on appeal are denied, the RO should return the claims to the Board for further appellate consideration.  

 

 

B.T. KNOPE

Veterans Law Judge

Board of Veterans' Appeals

Attorney for the Board	J. Meyer, Associate Counsel

